                                                     SO ORDERED.


                                                     Dated: January 11, 2022




                                                     Daniel P. Collins, Bankruptcy Judge
                                                     _________________________________




Case 3:21-bk-06185-DPC   Doc 24 Filed 01/11/22 Entered 01/11/22 10:18:58       Desc
                          Main Document Page 1 of 3
Case 3:21-bk-06185-DPC   Doc 24 Filed 01/11/22 Entered 01/11/22 10:18:58   Desc
                          Main Document Page 2 of 3
Case 3:21-bk-06185-DPC   Doc 24 Filed 01/11/22 Entered 01/11/22 10:18:58   Desc
                          Main Document Page 3 of 3
